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                 EXHIBIT 1
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Frank, Noah S.

From:                            Fischer, Aron (x2363) <afischer@pbwt.com>
Sent:                            Friday, May 11, 2018 2:38 PM
To:                              Sanford, Gregory B.
Cc:                              _cg Celltrion Internal; #Hospira-Infliximab; inflixWS
Subject:                         Janssen v. Celltrion


Counsel,

I am writing regarding Defendants’ Motion In Limine No. 3 to preclude evidence and argument regarding
discovery correspondence, Dkt No. 365 in Case No. 1:15-cv-10698-MLW. Janssen does not intend to
introduce evidence regarding discovery correspondence or to call a Janssen witness on this subject matter
during our direct case. In particular, we do not intend to call Eric Harris as a witness, nor do we intend to
introduce any discovery correspondence between counsel. Instead, we intend to introduce evidence relevant
to Defendants’ state of mind upon receiving Janssen’s notice of the ‘083 patent primarily by cross-examining
Jong Moon Cho, including on the contents of the January 12, 2017 declaration that he submitted in connection
with the Defendants’ MIL No. 3. We will also rely on Janssen’s December 2014 notice to Defendants that it
would assert the ‘083 patent, and on Defendants’ February 5, 2015 Detailed Statement regarding the ‘083
patent, portions of which Mr. Cho declared that he “reviewed and confirmed . . . before that statement was
provided to Janssen on February 5, 2015.” Jan. 12, 2017 Cho Decl. Par. 12. We will cover all of that by cross-
examining Mr. Cho.

In light of the above, which we are prepared to memorialize in an appropriate stipulation, we consider
Defendants’ MIL No. 3 to be moot. Even if Defendants dispute our ability to cross examine Mr. Cho on this
subject matter, that is a different dispute from the one laid out in the parties’ briefing on MIL No. 3 and should
be briefed as a new MIL. I am available generally available if you’d like to discuss.

Yours
Aron

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